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JANET SH|RLEY, as surviving Spouse, and for
the estate of JERRY SH|RLEY, Deceased,
JASON SH|RLEY, JAYANN SH|RLEY,

and JANA SH|RLEY, children of Deceased,
JERRY SH|RLEY,

Plaintiffs,
v.

THE GOODYEAR TIRE & RUBBER COMPANY,

an Ohio corporation, GOODYEAR DUNLOP TlRES
NORTH AMER|CA, LTD., a New York corporation,
SUMITOMO RUBBER |NDUSTRIES, |NC., a foreign
corporation, and DUNLOP TIRE CORPORAT|ON, a
De|aware corporation,

Defendants.

 

['EEOEUSED]_ORDER GRANTING PLA|NT|FFS’ MOT|ON FOR LEAVE TO
FlLE A REPLY TO DEFENDANT’S OPPOS|T|ON TO PLAlNTlFFS’ MOT|ON
TO COMPEL

This matter came before the Cour't upon P|aintiffs’ Motion for Re-hearing
and/or Reconsideration. For those reasons set forth in P|aintiff”s Motion and
Memorandum of Law in Support Thereof, it appears to the Court that this Motion
is well taken and that it should be granted. The court also finds that Defendants
do not oppose the Motion.

lT IS, THEREFORE, ORDERED, ADJUDGED AND DECREED that
Plaintiffs’ Motion for Leave should be and is hereby Granted, and that Plaintiffs

shall have two (2) weeks from the date that this Order is docketed to tile its rep|y.

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D'R'ITIC COURT - WESTRNE ISRICT OF TENNESEE

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This notice confirms a copy of the document docketed as number 111 in
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Honorable .1. Breen
US DISTRICT COURT

